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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

       ORDER SETTING DEADLINES FOR THE MARCH 2024
                 DISCOVERY CONFERENCE

       The Court will hold its March 2024 Discovery Conference on

 Monday, March 4, 2024 at 3:00 pm. The deadline for notifying the

 Court of a discovery dispute is February 26, 2024 at 3:00 pm. The Court

 will issue an agenda for the Discovery Conference by March 1, 2024.

       IT IS SO ORDERED.

 Dated: January 17, 2024                  s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge

                      CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
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 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on January 17, 2024.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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